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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 UNITED STATES OF AMERICA,                         §
   Plaintiff,                                      §
                                                   §                    CRIMINAL ACTION NO:
 v.                                                §                            3:18-CR-500-B
                                                   §
 CHRISTOPHER AUNDRE                                §
 FAULKNER,                                         §
   Defendant.                                      §


      ORDER DECLARING CASE COMPLEX AND SETTING PRETRIAL SCHEDULE

        Before the Court is the Joint Motion for Continuance and to Designate Case Complex (doc.

79). Said motion, in accordance with the findings set forth below, on this July 16, 2019, is granted

in part and denied in part.

        The Court agrees with the government and finds that the case is so complex due to the

nature of the prosecution, the complexity of the facts underlying the indictment, and the

voluminous nature of the discovery that it is unreasonable to expect adequate preparation for the

trial itself within the time limits established by the Speedy Trial Act. According, the Court

designates this case as complex pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii).

        The Court denies the parties to simply set a status conference at a point in the future discuss

setting a trial date. Instead, the Court sets this case for jury trial on March 16, 2020, at 9:00 a.m.

Defendants’ pretrial motions, if any, must be filed by January 27, 2020, and the government's

responses thereto, by February 10, 2020. Pretrial Conference is hereby set for March 13, 2020,

at 10:00 a.m.

        Requested voir dire questions, proposed jury instructions, witness lists (with witnesses

designated as "custodial", "expert", or "fact", as well as "probable" or "possible"), exhibit lists (with

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copies of exhibits furnished to the Court), and motions in limine must be filed no later than

February 24, 2020.

         Additionally, the Court sets an in-person status conference November 21, 2018, at 1:30

p.m. to discuss the status of the case and the potential need to adjust the deadlines set forth in this

order.

         SO ORDERED.

         Signed this July 16, 2019.




                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




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